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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

 Zhangnv Gao,                                      CASE NO. 1:24-cv-09742

                    Plaintiff,
                                                   Judge: Honorable Franklin U. Valderrama
                          v.

 The Partnerships and Unincorporated               Magistrate Judge: Honorable Young B. Kim
 Associations Identified on Schedule A,

                   Defendants.


             NOTICE OF VOLUNTARY DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff hereby

dismisses with prejudice all causes of action in the Complaint as to the Defendant # 177 identified

below and in Schedule A. This Defendant has not filed a motion or answer. Each party shall bear

its own costs and fees.



 Def. No.     Seller Aliases                    Defendants’ Stroe URLs
 177          JUHNfnbnd                         https://www.walmart.com/seller/101690468


                                                Respectfully submitted,

 Date: December 26, 2024                        /s/ He Cheng
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                                                Fort Lauderdale, FL 33301
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